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 3                          UNITED STATES DISTRICT COURT
 4                         EASTERN DISTRICT OF CALIFORNIA
 5
 6   UNITED STATES OF AMERICA,            )     1:08-cr-0224 OWW
                                          )
 7                       Plaintiffs,      )     IN CAMERA REVIEW OF WITNESS
                                          )     INFORMATION
 8        v.                              )
                                          )
 9   ROBERT HOLLOWAY, et al.,             )
                                          )
10                       Defendants.      )
                                          )
11                                        )
12
13        The Court conducted an in camera review of background
14   information for Terry Lyle Seese, a witness in these proceedings
15   on October 21, 2009.
16        The review consisted of the examination of the complete
17   personnel file maintained by the Modesto Police Department for
18   Detective Seese.
19        Service evaluations commencing in 2000 through the present
20   show no adverse actions and only commendations.          Detective Seese
21   has no adverse history regarding performance of duty, accidents,
22   no disciplinary matters of any kind and there is no information
23   that is producible under Brady, Franks or Henthorn.           This report
24   shall be provided to all counsel.
25
26   IT IS SO ORDERED.
27   Dated: November 17, 2009               /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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